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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     In re Google Play Store Antitrust Litigation         Case No. 21-md-02981-JD

                                   8
                                                                                              AMENDED MDL SCHEDULING
                                   9                                                          ORDER

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                                  12          In response to the parties’ Joint Statement re: Case Schedule and Trial Structure, MDL
Northern District of California
 United States District Court




                                  13   Dkt. No. 181, the Court sets the following amended case management deadlines pursuant to

                                  14   Federal Rule of Civil Procedure 16 and Civil Local Rule 16-10. This order applies to all actions

                                  15   that are a part of this multi-district litigation case, and supersedes all scheduling orders previously

                                  16   issued in any member case.

                                  17

                                  18                                 Event                                             Deadline
                                  19     Add parties and amend pleadings                                 Closed

                                  20     Plaintiffs serve opening class expert reports                   February 28, 2022
                                  21                                                                     March 17, 2022, at 11 a.m. (by
                                         Status conference                                               remote access)
                                  22

                                  23     Google serves opposition class expert reports                   March 31, 2022

                                  24     Plaintiffs serve class expert rebuttal reports                  April 25, 2022

                                  25     Class experts discovery cut-off                                 May 13, 2022

                                  26     Plaintiffs file class certification motion;                     May 26, 2022
                                  27     Plaintiffs and Google file Daubert motions re class
                                         certification experts
                                  28
                                          Case 3:21-md-02981-JD Document 191 Filed 02/02/22 Page 2 of 3




                                   1                                 Event                                            Deadline
                                   2     Google’s class certification opposition;                       June 23, 2022

                                   3     Plaintiffs’ and Google’s Daubert oppositions

                                   4     Joint submission for class certification experts’              July 12, 2022
                                         concurrent expert proceeding
                                   5
                                         Plaintiffs’ class certification reply brief;                   July 14, 2022
                                   6
                                         Plaintiffs’ and Google’s Daubert replies
                                   7
                                         Concurrent expert proceeding for class certification           July 19, 2022 (Tue), at 2:00 p.m.
                                   8     experts
                                   9     Class certification hearing                                    August 4, 2022, at 10:00 a.m.
                                  10     Fact discovery cut-off                                         August 12, 2022
                                  11
                                         Plaintiffs’ merits expert reports                              August 22, 2022
                                  12
Northern District of California




                                         Google’s merits expert reports                                 September 26, 2022
 United States District Court




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                                         Plaintiffs’ merits expert rebuttal reports                     October 17, 2022
                                  14
                                         Merits experts discovery cut-off                               October 31, 2022
                                  15
                                         Last day to file dispositive and Daubert motions               November 10, 2022
                                  16

                                  17     Dispositive and Daubert motion responses                       December 8, 2022

                                  18     Dispositive and Daubert motion replies                         December 29, 2022

                                  19     Joint submission for merits experts’ concurrent expert         December 30, 2022
                                         proceeding
                                  20
                                         Concurrent expert proceeding for merits experts                January 5, 2023 (Tue), at 2:00 p.m.
                                  21

                                  22     Dispositive motion hearing                                     January 19, 2023, at 10:00 a.m.

                                  23     Final pretrial conference                                      March 16, 2023, at 1:30 p.m.

                                  24     Jury Trial                                                     April 3, 2023, at 9:00 a.m.

                                  25
                                              All dates set by the Court should be regarded as firm. Counsel may not modify these dates
                                  26
                                       by stipulation without leave of court. Requests for continuances are disfavored, and scheduling
                                  27
                                       conflicts that are created subsequent to the date of this order by any party, counsel or party-
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                                   1   controlled expert or witness will not be considered good cause for a continuance. Sanctions may

                                   2   issue for a failure to follow a scheduling or other pretrial order. See Fed. R. Civ. P. 16(f)(1)(C).

                                   3          IT IS SO ORDERED.

                                   4   Dated: February 2, 2022

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                                                                                                     JAMES DONATO
                                   7                                                                 United States District Judge
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Northern District of California
 United States District Court




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